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                                     UNITED STATES DISTRIC




RUFUS WILLIAMS

CREAGHAN HARRY
                Plaintiffs

                                                               And Upgrade to Class Action on behalf of all

                                                               Federal Detainees at Essex County Correction

                                                               Facility and further for all pretrial detainees in

                                                               Federal Custody in the State of New Jersey



               v.
UNITED STATES OF AMERICA                                       42 U.S.C. § 1981, 1982, 1983, 1985, 1986, 1999, Bivens,

                    Defendant                                  28 U.S.C. § 1367 / N.J.S.A. 10:6-1, 2A:43-2, 56:8-1 to 20,

                                                               N.J.A.C. 13:45A-26C.2, 18 U.S.C. § 420a-e, 18 U.S.C. §

                                                               1951, 19 U.S.C. § 1964(c), 42 U.S.C. § 2000a, 20000b-2,

                                                             . U.S. Constitutional Amendments Pt, 5 th , 6 th , sth, 9th,

                                                               13th, 14 & 15th, Torts under the laws of the State of

                                                               New Jersey



      JURISDICTION


Jurisdiction is asserted pursuant to 42 U.S.C. § 1981, 1982, 1983, 1985 1986, 1988, 18 U.S.C.S § 1964 (c),
Bivens v. Six Unknown Named Agents, 403 U.S. 388, 91 S. Ct. 1999, 29 L. Ed. 2d 619 (1971), 42 U.S.C., §
 2000a & 2000b-2, Conspiracy 18 U.S.C.A. § 371, Seditious Conspiracy 18 U.S.C.A. § 2384 and the Uni~ed
 States Constitution Article I, Section 9:"The Privilege·s of the Writ of Habeas Corpus shall not be suspended,
· unless when in cases of Rebellion or fovasion'the public safety may require it" "No Bill of Attainder or ex post
 facto Law shall be passed". Amendment I [1791], "Congress shall make no law respecting an establishment of
 religion, or prohibiting the free exercise thereof.... and to petition the Government for a redress(of grievances".
 Amendment V [1791], " .... nor be deprived of life, liberty, or property, without due process of law .... "
 Amendment VI [1791], " .... the accused shall enjoy the right to a speedy and public trial, by an impartial jury of
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the state and district wherein the crime shall have been committed .... " Amendment VIII [1791], "Excessive bail
shall not be required, nor excessive fines imposed, nor cruel and unusual punishment inflicted". Amendment IX
[1791], "The enumeration in the Constitution, of certain rights, shall not be construed to deny or disparage
others retained by the people". Amendment X [1791], "The powers not delegated to the United ·States by the
Constitution, nor prohibited by it to the States, are reserved to the States respectively, or to the people".
Amendment XIII [1865], Sections 1. & 2. Section 1. "Neither slavery nor involuntary servitude, except as a
punishment for crime whereof the party shall have been duly convicted, shall exist within the United States, nor
any place subject to their jurisdiction". Section 2. Congress shall have power to enforce this article by
appropriate legislation". Amendment XIV [1868], Section 1. "All persons born or naturalized in the United
States, and subject to the jurisdiction thereof, are citizens of the United States and of the State wherein they
reside. No State shall make or enforce any law which shall abridge the privileges or immunities of citizens of
the United States; nor shall any State deprive any person oflife, liberty or property; without due process oflaw;
nor deny to any person within its jurisdiction the equal protection of the laws". & Amendment XV [1870],
Section 1. & 2. Section 1. "The right of citizens of the United States to vote shall not be denied or abridged by
the United States or by any State on account ofrace, color, or previous condition of servitude." Section 2. "The
Congress shall have power to enforce this article by appropriate legislation". Under 28U.S.C. § 1331, The
District Court has original jurisdiction as per these claims. 18 U.S.C§ 420 a-e, 18 U.S.C.A §§ 1961-1968, 18
U.S.C § 1951, 18 U.S.C.S. § 1962 (a) provides the District Court original jurisdiction as per RICO claims under
18 U.S.C.S. § 1964 (c).


Jurisdiction for the State Law Claims tm.derN.J.S.A. 10: 6-1, 2a: 43-2, 56: 8-1 to -20, NJ.AC. 13:45A-26C.2,
Torts under the laws ofthe state ofNew Jersey, a. Unconstitutional imprisonment, b. Abuse of process, c.
Negligence, and d. Gross negligence, is pursuant to 28 U.S.C. § 1367, which grants Federal District Court
supplemental jurisdiction over all other claims that are so related to claims in the action within such original
jurisdiction that form part of the same case or controversy under Article I and Article III of The United States
Constitution.


CONFINED STATUS OF PLAINTIFF [SJ & PRIOR FEDERAL CIVIL ACTIONS OR APPEALS


Like many other Americans, the plaintiffs, Mr. Williams and Mr. Harry are presently incarcerated due to the
unconstitutional practices that are currently being administered upon "all" Federal Detainees within the
jurisdiction of the United States of America. Said arbitrarily, unlegislated unconstitutional standing order[s]
represent a slippery slope, wherein they are indeed poised to shape public policies, as the same stand in direct
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contrast to the United States Constitution while simultaneously, purposefully and disproportionately subject
"all" Federal "PRETRIAL" Detainees,.a large portion of the incarcerated population to known and willful
violations of The United States Constitution. As The Plaintiff [s] Mr. Williams #207585661 and Mr. Harry
#201907183, are currently "Federal Pretrial Detainees presently in the custody of The United States Marshal,
being unlawfully warehoused under profitable contract ultimately for the Prison Industrial Complex, at the
Essex County Corrections Facility 354 Doremus Ave. Newark, New Jersey, 07105.


INDIGENT AND REQUESTS THE COURT TO APPOINT COUNSEL TO REPRESENT PLAINTIFFS
IN THIS CIVIL SUIT.


Plaintiff[s] are requesting they be allowed to proceed in forma pauperis. Plaintiff[s] are currently incarcerated as
Pretrial Detainees and cannot afford to secure private counsel, as both are indigent. Plaintiff[ s] do not have any
formal legal education, therefore require a trained, licensed civil attorney to assist them in this civil action to
assert their rights, (mentioned in jurisdiction) to insure that said rights are protected and to seek redress for
rights violations. As an incarcerated person, plaintiff[ s] do not have a proper work environment that would
enable Plaintiff[s] to manage a lawsuit independently. For these reasons, and good cause being shown,
plaintiff[s] requests the court appoint counsel to represent the interest brought forth in this complaint/civil
action.


PREVIOUS CIVIL ACTION


Plaintiff, Mr. Rufus A. Williams Jr. has filed a civil action suit in a Federal Court while incarcerated, being
case#: l:20-cv-01114-RBK-JS, Camden, New Jersey 08101-2797. Pending.


Mr. Harry has not filed any Federal suit in any United States Court.


PARTIES


PLAINTIFF RUFUS A. WILLIAMS JR., is a brown citizen of the United States of America and the State of
New Jersey, residing in Burlington County, New Jersey. Mr. Williams is descended from persons kidnapped
and smuggled "against their will" to th~ United States, where his ancestors were enslaved and subjected to·
slavery and every other extreme variation of inhumane torture and human rights violations (to include
everything from sexual assault by their captors, to grievous bias that were protected/furthered and supported by
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                                                                                                  and institutional
the very same Federal Government that's being called into question.) Societal discrimination
                                                                                              system in the United
discrimination that continues to this day, particularly in the area of policing and the legal
                                                                                                , prosecuted,
States, where poor brown men like the plaintiff are still routinely abused, unlawfully arrested
                                                                                           United States of
convicted and murdered by those acting under color of law, with de facto impunity. The
                                                                                          descended from
America is infamous across the world for its abuse of and genocidal policies toward those
                                                                                         fear of extrajudicial
slaves. Unfortunate brown men in the United States have been forced to live in crippling
                                                                                              .
executions/prosecutions by state-sponsored terrorists employed by law enforcement agencies
                                                                                          ed police unjustly
Extrajudicial/prosecution of poor brown men by state and federal actors-heavily militariz
                                                                                        and has been accepted
utilizing firearms ~gainst unarmed civilian brown men - in the United States has become
                                                                                      have the right to vote,
as the modern day lynching. Now that brown persons are supposed to be able to legally
                                                                                        prohibit large amounts
the U.S. States Government have continued to unconstitutionally allow certain states to
                                                                                           whom legislated laws
of the black and brown citizenry from voting by creating a bias driven political system of
                                                                                            industrial complex
that ultimately targeted the black and brown communities thereby giving birth to the prison
                                                                                             have their voting
by disproportionately deeming said citizens as "felons" (failures) who under most state laws
                                                                                           ion of the fourteenth
rights revoked on an often permanent, but sometime temporary basis. Prior to the ratificat
                                                                                            alone United States
Amendment, members of the plaintif fs racial group were not even considered human, let
Citizens, due to their race.


                                                                                            biased and or
"As a society we acknowledge and bewail our deeply troubled racially bigoted, ethnicity
                                                                                                 by the federal and
culturally ignorant one-sided history - the horrors of slavery, the unjust treatment of persons,
                                                                                            ly violent) acts
 State Government and the allowing and acceptance of Jim-Crow, the tawdry (and frequent
                                                                                          equal rights and equal
 perpetrated by the same. The subtle (and not so subtle) resistance to conferring genuine
                                                                                             4922) (D.MASS.
. opportunities upon all Americans." (Cotter v. City of Boston, 2002 U.S. Dist. Mass., LEXIS
 March, 21 2002)


                                                                                            is protected by The
 Although slavery is technically illegal nowadays, de facto slavery continues to exist and
                                                                                           labor. Mr. Williams is
 United States Constitution, Amendment XIII and is supported under the guise of prison
                                                                                                d of any crime,
. currently incarcerated at The Essex County Corrections Institution, he has not been convicte
                                                                                              and
  where despite his Pretrial Status and presumption of innocence, he is unlawfully, illegally
                                                                                               and to his right to
 unconstitutionally be held against his will and being denied his constitutional right to bail
                                                                                                resist, he will be
 speedy trial. Thereby subjecting Mr. Williams to unlawfully forced slavery, to-which ifhe
                                                                                                   ions" is the new
· place in 24 hour a-day lock-in, notwithstanding, jail is the new plantation for-profit; "correct
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cotton, which seems to illustrate corrections to how to present slavery to be accepted. Clearly, change has
occurred in name only, while practices have indeed remained the same.


While born in the State of New Jersey, (Trenton) county of Mercer, to Mr. & Mrs. Williams being one of three
children, Rufus being the middle child, having an elder sister and a younger brother. Plaintiff spent his youth in
the southeastern portion of the country, in the state of Georgia, where he was subjected to hardcore racial
discrimination on several fronts as a matter of public policy towards black and brown residents. Mr. Williams
 was attacked by a white male, at the time he was thirteen 13 years of age and the case went before a judge
 wherein the white boy admitted to assaulting Mr. Williams on three 3 occasions during a forty-five 45 minute
 period. Mr. Williams decided to stop the attack by defending himself and the white boy was hurt. In short, the
 white mother cried in court and Mr. Williams at the age of thirteen 13 was sentenced to ten 10 years
. commitment to the State of Georgia, (this is all public record.) Federal Law Enforcement Agencies, such as the
  Federal Bureau oflnvestiga tions (FBI), through deliberate and particularly targeted malicious actions, have
 sought to destroy efforts to gain racial equality and freedom.for black and brown persons in the United States,
 as has been documented in programs such as COINTELPRO, where the FBI was tasked with infiltrating,
 discrediting and incarcerating via false allegations, individuals and organizations seeking racial equality and
 freedom for the black and brown community via lawful first amendment protected activities.


 "From the late 1960s into the early 1970s, the FBI conducted the COINTELPRO program, in-which Plaintiff
 contends that the FBI unlawfully surveyed, infiltrated and disrupted civil rights anti-war,' and other. American
 dissident political movements. Numerous well known individuals, such as Reverend, Dr. Martin Luther King Jr.
 and Mohammed Ali (Casious Clay) were affected by the Government's activities. The COINTELPRO Program
 was officially closed down in the early 1970s. According to the Plaintiff, the FBI continued aggressive
 investigation of (253 F. Supp. 3d. 273) the same or similar sorts of political dissent groups including aggressive
 national security oriented investigations of individuals, organizations and elected political officials who sought
 to achieve racial justice. Hardy Deel. Ex. G at 31." (Seavey v. DOJ, 2017 U.S. Dist. LEXIS 113028 (D.D.C.,
 July 20, 2017) In very much the same way, the Plaintiff is being subjected to the very same actions perpetrated
 by the very same FBI seemingly following the very same playbook/operating procedures, being the violation of
 due process of law.




 PLAINTIFF CREAGHAN A. HARRY, is a citizen of the United States of America, classified as a "person of
 color." He attended Elementary, Middle and High School in Marlboro, NJ, where his parents still reside. Mr.
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Harry attended college at University of Rochester, in Rochester, NY, before returning to live in Red Bank and
Sea Bright, NJ. He later moved to Boca Raton, Florida, where he still resides. He owned his home which he
purchased in 2001, until he was recently charged, at which time he had no way to further pay his bills due to an
asset freeze of his accounts and was forced to turn the house over to the mortgage company. He is the founder
of over half a dozen companies that have employed thousands of people in the last few decades and holds
United States Patents. He is a member of several local business community groups. He is the father of 4 boys,
ages 6 -21 years of age, who he has not seen since April 2019.


He was a volunteer at many community charitable organizations, including Overtown Youth Center, Propel
College Youth Charity, Covenant House and 'children of the Sun Orphanage and was a member and active
participant in his local church. He was also a volunteer little league and baseball coach for the greater part of
                                                                                                    st
this past decade. He has a brother who is an honorably discharged veteran who served in the 101 Airborne and
parents who were senior accountants with major corporations along with the IRS in the New York City's Wall
Street and New Jersey area before retiring.


Mr. Harry is a pretrial detainee with no prior crimes or charges against him in his life. He was incarcerated on
April 9, 2020 related to Anti-kickback Statute stemming from a customer that signed up with his company in or
around 2016. Mr. Harry has vehemently maintained his innocence of the charges lodged against him and awaits
trial to exonerate him and clear his name. Mr. Harry has extensive claims ofprosecutori al misconduct,
obstruction of justice and witness tampering that he is preparing to file against the prosecutor, U.S. Attorney
Jacob Foster, for knowingly lying to the court to influence the court to deny Mr. Harry's bail and create
excessive bail conditions along with other egregious acts. Prior to Fosters cunning, lies and deceit to the court,
Mr. Harry was approved by pretrial services in West Palm Beach, Florida for a signature bail based on his own
recognizance. Mr. Harry has had 3 bails granted, but has not been able to meet the conditions and therefore is
still remanded.


Mr. Harry has been locked up in Maximum Security conditions, under severe deprivation of his constitutional
rights, as detailed in this document. Mr. Harry has not been able to receive a Speedy Trial, nor has he had the
ability to prepare for trial, nor has he even been able to access Discovery, as he approaches the 2 year mark of
his incarceration. His access to his attorneys have been limited to short text messages and 15 minute video
conferences whenever a slot opens up within the jail, which is about once or twice a month. Mr. Harry is
definitively an aggrieved party.
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INFORMAL OR FORMAL RELIEF SOUGHT FROM APPROPRIATE ADMINISTRATIVE
OFFICIALS
Plaintiff[s] have written letters to institutional staff, i.e. Sergeants, lieutenants and Wardens of both the
Monmouth County Correctional Institution and the Essex County Correctional Facility and in the responses
from both, the plaintiff[s] were notified that the current situation is not within their control.


STATEMENT OF CLAIM


(Names unknown) The United States Federal Government's incarceration apparatus has instituted a Standing
Order that is in direct violation of the Rights and Immunities that are provided, guaranteed, and supported by
The United States of America's Constitution and the United States Bill of Rights. The violations are presently
being supported, rather than the laws. This is clearly recognizable when one looks at the provision/act/law
currently being instituted and enforced, referred to as "Ends of Justice." This "Standing Order" subjects
Pretrial Detainees to severe cruel and unusual punishment while not being convicted or found guilty of any
felony, first by the canceling of court dates, thereby imprisoning American citizens indefinitely, individuals of
whom should not be subject to such treatment, as they are not accused of being domestic terrorist and therefore
are not being prosecuted under the Patriot Act. The Federal Government has side stepped laws put into place for
time allotted to indict, along with laws that are on the books requiring that the Federal Government have any
American Citizen that has been formally charged with a felony, brought to trial within its allotted amount of
time. Also foregoing, eliminating, or caµceling American Citizen's Right to a speedy trial, thereby violating
Article 1. Section 9. Writ ofhabem:; corpus by forcing individuals to be, subjected to any court proceedings that
do take place, to agreeing to have the proceeding unconstitutionally move forward via Skype over unsecure
internet web sites or unlawfully suffer waiting in jail, prison or confinement until their status is reverted back to
the usual, Constitutionally sound and supported operating procedure. This time-space, as of yet, has absolutely
no set date, although at one point there had been a target time set into place to cancel this
"UNCONSTI TUTIONAL" ENDS OF JUSTICE implementation, which was ultimately withdrawn. This type of
disorganization among the Federal Conviction Machine is absolutely being employed and being used as a ·
means to have Federal Pretrial Detainees accept plea deals und~r duress, undue influence, intimidation, coercion
and unfair persuasion by prosecutor [s] of whom conduct themselves in unlawful, immoral and unethical
manners, illustrating clear prosecutorial 'misconduct and manipulation of the current instituted unconstitutional
Standing Order by way of misusing the CV-19's unconstitutional Ends of Justice implementation to achieve
unlawful objectives. This Standing Order also subjects Pretrial Detainees to suffer the same punishment that of
individuals of whom have been duly convicted and or sentenced in a Court of Law. By first arbitrarily
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subjecting the same to the very treatment as the previously mentioned, including everything from phone time to
exercise time even up and to include all rights and privileges. This provision/Law has indeed completely
altered, revamped, destroyed or single handedly rewritten the operating procedures of every United States
Correctional Institution in America and without congress nor proper legislation as is required by law. Federal
Pretrial Detainees are subjected to 23 hours and 45 minutes a day LOCK-DO WN [BEING CONFINE D
WITHIN A CLOSET SIZED ROOM] and being forced to decide whether to take care of personal hygiene or to
contact family and loved-ones in the 15 minutes allowed out of the cell, (closet sized room).
 If an American citizen were found to be guilty of this very same form of torture to an animal, the individual
would indeed be convicted and sentenced to prison time, under the auspices of animal cruelty. This represents a
complete violation of fundamental rights, a significant component of the liberty guaranteed to "all" American
Citizens by The American Constitution while not convicted of any felony [s], therefore this encroachment must
be rigorously scrutinized by the court to ascertain the soundness of any or "all" purported government/judicial
justification [s] in support of its (ENDS of JUSTICE) implementation upon every Federal Pretrial Detainee and
housing facility within the jurisdiction of the United States of America and upon its citizens. Pretrial Detainees
 have also been subjected to the cancelation of "all" visitation by family and friends, both contact and non-
 contact, w,hich by and large causes extreme mental stress, thereby putting each and every Pretrial Detainee's
 Mental Health at unjustified or unjustifiable risk by totally eviscerating the moral support system. This unduly
 creates absolute despair, (torture) through the immoral forci.ng oflonelines s, of which has been proven to break
 a persons will to live, thereby making said person prime candidates for suicide, (citing, Monmouth County Jail,
 H-2 April 2020, suicide by hanging.) The plaintiffs/ "all" Federal Pretrial Detainees have been (since March
• 2020) and are currently being denied the right to religious and spiritual guidance and support provided by
  Imam, Rabbi or Clergy due to the cancelation of visits by the same. While simultaneously witnessing the
 allowing of commissary provider's employees, entry/access to correctional facilities in order to continue
 commerce which benefits the Institution, its shareholders, stockholders and or all of whom are privy to the
 profit-sharing that is maintained by the uninterrupted flow of currency generated by the sale of goods to inmates
 that are being UNCONST ITUTIONA LLY tortured. This creates within a large portion of the inmate population
 or Pretrial Detainees an unrecognized desire to consume more (through the feeling oflonelines s/abandonm ent)
 resulting in a much larger profit margin for the institution and its investors, thereby supporting further the
 extraordinarily profitable Prison Industrial Complex. As we are "all" American Citizens, we understand that
 capitalism is a cornerstone of our culture intricately woven into the fabric of society that makes-up our
 republic/democracy and therefore in-and-of-it-self, is not an issue. Whereas, this is surely an issue wherein
 torture is the component that drives up the exponential profit. Pretrial Detainees/ Plaintiff [s] and "all" Federal
 Pretrial Detainees as of March, 2020 have been and are currently being denied (physical) contact with "all"
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attorneys of record, being forced to partake in video calls wherein said individual are encouraged to openly
             '
discuss the mechanics of their case[ s] and or strategies thereof, "as it relates to their defense" over proven to be
unsecure sites. Attorneys themselves advise (through U.S.P.S mail), "letters" to their clients that the sites that
are being provided are not at all secure and therefore should not be utilized to discuss Defense Strategies. This
results in extreme delays in communication[ s] and in regards to issues that are time sensitive, this poses a
detrimental problem to the forming of an adequate defense. Adding in the fact that the (U.S.P.S.) is
experiencing delays outside of its control, thereby resulting in letters from lawyers and the court being delivered
anywhere from seven (7) days late as far as up to fourteen (14) days late. This alone, is of grave concern, this
practice calls into question the long standing Attorney-Client privilege, of which has stood, been recognized,
respected and held in high regard since its inception. Federal Pretrial Detainees are also terribly limited in the
amount of time that they/we are allotted regarding legal research, because of restrictions being enforced due to
the rules that have been instituted as a result of Ends of Justice being implemented/thrust upon Essex County
Correctional Institution, Monmouth County Correctional Institution as well as every other county jail, prison,
holding facility and or any other institution that warehouses Federal inmates and Pretrial Detainees. The
aforementioned clearly illustrates the clear DEPRIVATION OF RIGHTS and a clear and convincing view of
the deviation from the normal everyday operating procedures of all Federal Housing complexes, institutions and
or facilities, these violations lawfully require adequate remedy and constitutionally sound redress. Rights appear
to be whatever the "OLIGARCHS" say they are and could be given and taken away at a moments or without
notice and as stated by Benjamin Franklin: "Those who would trade a little Liberty for a little security deserve
neither and would lose both." Therefore it is for the fore stated causes that We The People stand in solidarity
with our Rights that are provided by The Constitution of The United States demanding that the same be
protected and preserved.


COUNT 1: VIOLATIONS OF 42 U.S.C. 1983; Amendments, V, VI, VIII, XIII and XIV


Plaintiff incorporates by reference statement of claim and all counts within this complaint, as if fully set forth
here.


· Defendant[s], United States Federal Government ~ave violated and are currently violating the Constitutional
Rights of Mr. Rufus A. Williams Jr., Mr. Creaghan A. Harry and every Federal Pretrial Detainee, mainly
Amendment, V, VI, VIII and XIV. Defendant[s] (conspiring) to set forth and force the implementation of the
Standing Order (ENDS of JUSTICE) without Congress nor legislation violates rights and immunities
guaranteed, provided and protected by the United States Constitution to "all" American Citizens.
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Amendment V mandates that no person shall be compelled in any criminal case to be a witness against himself,
nor be deprived of life, liberty or property without Due Process of Law. Notwithstanding, The "Ends of
Justice" implementation affords the government latitude to apply pressure in the form of undue influence, unfair
persuasion and intimidation using the current incarceration status as the weapon and vise. This continuance is a
clear violation of one's rights to life and liberty. The aforementioned violates Amendment VI by dissolving all
Federal Pretrial Detainees constitutionally guaranteed and provided rights by the cancellation of court dates and
indefinite detention. This has been or is being done by the forced implantation of said act, provision, law, i.e.
"Standing Order" has caused and is currently causing "all" Federal Pretrial Detainees to be subjected to
"EXTREME" cruel and unusual punishment, THEREBY VIOLATING Amendment VIII. This therefore has
caused and is currently causing the domino effect violation of the Plaintiffs XIII Amendment Section (1.)
Right, being subjected to slavery and or servitude.whereof the parties have not been convicted. This also causes
the violation of Amendment XIV, Due Process and Equal Protection of the Law.


COUNT 2: VIOLATIONS OF 42 U.S.C.1985, 1986, 1988; Amendments I, IX and XV


Plaintiff incorporates by reference statement of claim and all counts within this complaint, as if fully set forth
here.


Amendment I mandates that Congress "shall make no law respecting an establishment of religion, or prohibiting
the free exercise thereof ... and to petition the government for a redress of grievances" The rights of the
defendants are being violated via the forced implementation of the Ends of Justice Standing Order in the
restriction of access to clergy and thereby the ability to practice and exercise their religious freedoms.
Amendment IX mandates that the enumeration of the Constitution, of certain rights, shall not be construed to
deny or disparage others retained by the people. The Ends of Justice Standing Order denies the plaintiffs and all
federal detainees of their enumerated Constitutional rights. Amendment XV mandates the right of citizens to
vote and this right has been unlawfully suspended through the continued incarceration of pretrial detainees
throughout the November 2020 election cycle, whereby no access was provided to detainees to exercise their
right to vote. Additionally, without the freedom that is demanded by the Speedy Trial Act, pretrial detainees
who were incarcerated in August 2020 or prior would have been free or had their right to trial within 70 days
and would have been free to vote at will in November 2020.
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RELIEF


Plaintiff incorporates by reference above (STATEMENT of CLAIM) and all Jurisdictional rights of this
complaint, as if fully set forth here.


As a result of all acts, conduct, forced enforcement of violations of federally protected constitutionally provided
Civil Rights and immunities and omissions committed under the color of state law in the form of customs,
policies, act[s], provisions, "STANDING ORDER", public health emergency and practices, failure to train,
audit, supervise, and discipline, and intentional acts maliciously, intentionally and willfully committed against
Plaintiff[s] person[s]. Plaintiff[s] have and are suffering harm[s] and injuries including but not limited to
humiliation, pain, mental cruelty, economic loss, loss of liberty, and unlawful violations of their constitutional
rights.


On all counts and claims for Relief, Plaintiff[ s] demands judgment in their favor and declaratory relief in the
form of a declaration that the actions and conduct of all the Defendant[s] both named and unnamed was/were
and is currently in violation of 42 U.S.C. 1983, 1983 1985, 1986, & 1988 as well as Amendments I, V, VI, VIII,
IX, XIII, XIV   &   XV of the United States Constitution and injunctive relief ordering all Defendants to cease their
unlawful conduct.


An award of punitive damages and exemplary damages to Plaintiff[ s] in an amount of not less than
$600,000,000. 00 (six hundred million dollars) as sufficient to punish the Defendant[s] against whom these
damages are awarded and sufficient to deter similar conduct in the future by said Defendant[s] and to make
every Federal Pretrial Detainee whole, in seeing that true justice is served.


Further, On all Counts and Claims for Relief, Plaintiff[s] demands judgment of four [4] days for every one [1]
day served during the unlawful and unconstitutional pretrial detention during the period of March 15, 2020 to
present for Plaintiff[s] and all Federal pretrial detainees in custody of the U.S. Marshalls in County, State or
Federal facilities.


On all Counts and Claims for Relief, Plaintiff[ s] demand judgment in their favor and to award punitive
damages, against each Defendant according to the findings of the jury, due to the malicious, oppressive,
outrageous, unconstitutional and unjustifiable actions and conduct of all Defendants.
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On all Counts and Claims for Relief, Plaintiff demands judgment in their favor and reasonable attorney fees and
interest pursuant to 28 U.S.C. 1920, 28 U.S.C. 1961, and 42 U.S.C. 1988 et seq.


On all Counts and Claims for Relief, Plaintiff[ s] demand judgment in their favor and any other relief the Court
may deem appropriate and just, and otherwise in the interest of justice.


DEMAND FOR JURY TRIAL


On all facts, Counts and Claims asserted, Plaintiff[s] demand a trial by jury as is their United States
Constitutional Right, guaranteed by Amendment VII of the United States Constitution.


PRAYER


Plaintiff incorporates by reference statement of claim and all counts within this complaint, as if fully set forth
here.
     A. Declaratory judgment that the acts of the defendants, and their agents and employees, violated plaintiffs
        due process; 42 U.S.C. § 1981, 1982, 1983, 1985, 1986, 1988, 28 U.S.C. 1367, 18 U.S.C.S § 1964(c),
         Bivens v. Six Unknown Named Agents, 403 U.S. 388, 91 S. Ct. 1999, 29 L. Ed. 2d 619 (1971), 42
         U.S.C., § 2000a & 2000b-2, Conspiracy 18 U.S.C.A. § 371, Seditious Conspiracy 18 U.S.C.A. § 2384,
                                                        th          th
          U.S. Constitution Pt, 5th , 6th, 8th , 9th, 13 14th , & 15 Amendments, Torts under the laws of the State of
          New Jersey and the United States of America., a. Unconstitutional imprisonment, b. Abuse of process,
          c. Negligence, d. Gross negligence and e. Malicious Prosecution.
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CERTIFICATION OF PLAINTIFF 1


I, Rufus A. Williams Jr., Plaintiff 1, certify under penalty of perjury, that I am personally familiar with all facts,
allegations and statements made within this complaint based on personal knowledge. I certify that all facts,
allegations and statements made are true and correct to the best of my knowledge. I understand there are
penalties for knowingly providing false statements and or claims.


                                                      DATE:




CERTIFICATION OF PLAINTIFF 2


I, Creaghan A. Harry, Plaintiff 2, certify under penalty of perjury, that I am personally familiar with all facts,
allegations and statements made within this complaint based on personal knowledge. I certify that all facts,
allegations and statements m de are true and correct to the best of my knowledge. I understand there are




SIGNED:    ------+---1--'- --+-----+-----
                                                       DATE:
C re agh an A. Harry
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LEGAL ARGUE MENT


Visitation
                                                                                              or her family and
"Visitation can be a stressful and frustrating experience not only for the inmate but for his
                                                                                            morale of your loved
friends." ... "visitation helps everyone involved with the inmate. Visitation can boost the
                                                                                           can also keep your
ones and make his or her adjustment to his incarceration and reentry more bearable. Visits
                                                                                        pleasant visit." (Page
relationship with your loved ones more stable. ECCF staff wants your visitors to have a
31, ECCF Inmate Handbook.)


                                                                                                 it will be
"If any inmate is found in possession of or using contraband either during or following a visit,
                                                                                                   nd will
assumed that the contraband was introduced by the inmates most recent visitor and the contraba
                                                                                              yisiting privileges
constitute reasonable suspicion for terminating the visit privileges of the visitor. Reasons
                                                                                             under the influence of
may be denied, revoked or terminated ... inmate refuses the visit, the visitor appears to be
                                                                                              ents, visitor fails to
intoxicants or displays unruly behavior, an inmate fails to comply with the clothing requirem
produce valid identification ... " (ECCF Inmate Handbook, page 34)


                                                                                         22, 2020, ECCF
"Twenty Fifth Amended Declaration of.Alfaro Ortiz" dated Nov. 9 2020 - "As of March
                                                                                        Item d.)
disallowed visitation for all family and friends ofECCF inmates and detainees" (page 7,


                                                                                            by first
The Plaintif f claims that the federal Government has violated their Constitutional Rights
                                                                                             tely suspend the
unconstitutionally forcing E.C.C.F. and all other Federal and State Institutions to indefini
                                                                                                    s] and or law[s].
normal day-to-day operating procedures of the same, by imposing unlegislated act[s]/provision[
                                                                                                    entation of said
 This is being done while not being in.line with The United States Constitution and the implem
                                                                                              i of the institution, as
 act[s]/provision[s]/ and or law[s] has caused E.C.C.F. to unjustly alter the modus:-operand
                                                                                             unjust cruel and
 of March 22, 2020 (mentioned above) thereby making the Defendant responsible for the
                                                                                                ent has also
 unusual punishment being inflicted on all Federal Pretrial Detainees. The Federal Governm
                                                                                             book used to govern the
 unconstitutionally forced E.C.C.F. to deviate from the rules set forth in the inmate hand
                                                                                                  or privileges
 facility, which in fact does not at all express any type ofreaso ning for deviations from rights
 outside of disciplinary reasons.
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Attorney Visits
                                                                                                        made
"Legal representatives may visit inmates from 07:00hrs -19:00 hours seven days a week." ... "Ifyou have
an appointment to meet with an attorney or legal representative it is your responsibility to cancel the
appointment if you do not intend to keep it. ." (Page 34, ECCF Inmate Handbook.)


"Twenty Fifth Amended Declaration of Alfaro Ortiz" dated Nov. 9 2020 - "Transitioned all attorney and
                                                                                                       were
contact visits to window visits only and expanded the window visit schedule. All detainees and inmates
separated from visits by a glass partition." (page 6, Item n.) "ECCF facilitates confidential telephone calls
                                                                                                          and
between detainees and inmates and their attorneys. Every housing area has a set of tablets that inmates
                                                                                                         for
detainees can sue to make-telephone calls. Attorneys may contact the Inmate/Detainee Advocate to arrange
a telephone call with their client. The inmate or detainee can use headphones while speaking with their
attorney." (page 8, Item g.) "On or about April }, 2020, ECCF opened a dedicated room within the visitor's
                                                                                                       at the
lobby wired to support video conferencing capability between inmates and detainees and their attorneys
facility." (page 8, Itemj.) "From the POD, inmates and detainees can make non-confidential calls to attorneys
for 15 minutes. Advocates can initiate calls to inmates or detainees on a confidential line for up to 99 minutes."
(page 9, item k.)


The Plaintiff claims that the Defendant has and currently is violating Constitutional Rights by the
                                                                                                    this
unconstitutional implementation of ENDS of JUSTICE upon Federal Pretrial Detainees of whom are at
time being warehoused in Federal holding Facilities around the country. As stated in the United States
Constitut ion" ... citizen [s] have a right to council. ... " And this right has been suspended as mentioned above,
                                                                                                       the fact
and there seems to be absolutely NO! Regard for Attorney / Client confidentiality when one scrutinizes
                                                                                                         fact
that within the Twenty Fifth Amended Declaration of Alfaro Ortiz" dated Nov. 9 2020 it clearly states as
that, "ECCF facilitates confidential telephone calls between detainees and inmates and their attorneys."


Religious Services (Page 36, ECCF Inmate Handbook.)

      1. "Inmates may identify their religious affiliation during the intake process. The view of agnostics and
         atheists shall be respected."
                                                                                                                the
      2. "Pre-registration for attendance at religious services may be enforced it is determined necessary for_
         safe and secure operation of the facility."
      3. "Pastoral care service providers from all major faith traditions are available for religious and spiritual
         consultation or counseling. Inmates may submit reques~s for such services to a housing pod officer,
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        ombudsperson, or social worker. Inmates may add their religious or spiritual leader to their lists
                                                                                                       .
                                                                                                           of
                                                                                        .

        visitors."
     4. "A schedule of religious services is posted in the housing pods and _available from a social worker or
        ombudsperson. Attendance at r~ligious services is voluntary."
     5. "Inmates are permitted to purchase for delivery by mail spiritual and religious material."
     6. "The granting or denial of privileges, or discrimination or punishment on basis of religious or spiritual
        beliefs is expressly forbidden." ·
     7. "All religious and spiritual groups shall have equal access to facilities and privileges based on security
         concerns and number of participants."
     8. "Religious and spiritual services'. are provided on a rotating schedule. Services shall only be provided
        for those inmates who are out for recreation activity in his/her respective housing area."


                                                                                                  ed all
"Twenty Fifth Amended Declaration of Alfaro Ortiz" dated Nov. 9 2020 -(page 6, Item 1.)- "Suspend
religious services conducted by outside volunteers;"


                                                                                                            the
The Plaintiff claims that the Defendant has/is violating not only the Plaintiff s Constitutional Rights but
                                                                                                             by the
Constitutional Rights of "all" Federal Pretrial Detainees across the fruited plain. This claim is supported
                                                                                                        9
statement on page 6, Item 1 (above) of the Twenty Fifth Amended Declaration of Alfaro Ortiz" dated Nov.
                                                                                                          •.
2020, which is unusual due to the normal operating procedure explained on Page 36, ECCF Inmate Handbook
                                                                                                           does it
(1-8 as shown above) clearly illustrates the procedure concerning all religious concerns and at no point
                                                                                                                [s]
state that religious services can be indefinitely suspended due to unconstitutionally forced act[s] / provision
                                                                                                         to violate
and or law[s]. The Defendan thas unlawfully forced E.C.C.F. and "all" other Federal holding facilities
                                                                                                             on of
the Constitutional Rights of "all" Federal Pretrial Detainees by unilaterally causing the unlawful deprivati
the aforementioned Constitutional Right$.


                     -CERTIFIED: CIVIL RIGH TS COM PLAI NT
Essex County Correctional Facility ('ECCF') , Monmouth County Correction Facility and other state, county
and Federal pretrial detainee jails have been under severe lockdown quarantine since March 2020. These
                                                                                                         in
procedures have created clear violations of aforementioned statutes and Constitutional Amendments listed
the complaint.

 On November 25, 2020, the Supreme Co1,1rt ruled in a landmark decision that "even in a Pandemic, the
                                                                                                       during
 Constitution cannot be put away and forgotten" and that "even if The Constitution has taken a holiday
 the pandemic, it cannot become a sabbatical." Roman Catholic Diocese of Brooklyn v. Cuomo, 2020 US
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 LEXIS 5708 and Agudath Israel ofAmerica et al. v. Cuomo No. 20A90. The ruling now requires that an
 executive order based on a Pandemic cannot remove or reduce a constitutional right.

 These conditions at ECCF include: (1) io to 23 ½ hours of daily isolation/lockup in a small closet sized
 room, (2) extremely limited access to 'legal counsel, (3) no family visits either contact or no contact to
 support family stability and thereby mental health, (4) no access fo clergy or religious services, (5)
                                                                     th
 extremely limited access to medical care, and (6) Suspension of 6 Amendment Speedy Trial Act Rights.

 Federal Judges have historically granted jail credits for excessively harsh jail conditions and constitutional
 violations suffered. Since March 2020, detainees in state custody in New Jersey and nationwide have had laws
 and executive orders passed requiring the addition of jail credits for being detained under these conditions with
 as much as 4x credits. No such laws or:mandates have been passed for a federal inmate suffering under the
 exact same conditions and even residing in the exact same facilities.

 For example, New Jersey pretrial detainees with state charges, under NJ S2519 have been offered relief by
 adding credits to their time served, based on the number of months that they have been incarcerated. NJ S2519
 provides up to 4x time served credits t9wards their sentences. As there has been no such similar
 considerations for federal detainees, this creates a 3553 sentence disparity, as people who have virtually the
 same circumstances are receiving drastieally·different sentences.

  Third Circuit law, see United States v. Coopej, 437 F.3d 324 (3d Cir. 2006) and United States v. Gunter, 462
  F.3d 237 (3d Cir. 2006), requires that attention must be paid to individuals who have suffered significantly after
  judicial officers remanded them to federal custody to await disposition of their cases. Downward variances
  have been consistently granted for even lesser extreme conditions than detainees are currently suffering,
· including reduction of sentences and double time jail credits. See: United States v. Ortiz, 2007 U.S. Dist.
                                                                                            rd
  LEXIS 87055 (3 rd Dist., 2007), United States v. Sutton, 2007 U.S. Dist. LEXIS 79518 (3 Dist., 2007)

 In United States v. Stevens, 223 F.3d 239 (3d Cir. 2000), the Third Circuit declined to disturb the lower court's
 determination that it had the legal authority to grant a departure based on pretrial conditions affecting inmates
 generally. See also United States v. Luna, 2002 U.S. Dist. LEXIS 6207 (E.D.Pa. Apr. 10, 2002)

 Roman Catholic Diocese ofB,rooklyn v. Cuomo,_2020 US LEXIS 5708 (Nov. 25,
 2020, US Supreme Court}

 In Roman Catholic Diocese of Brooklyn v. Cuomo, 2020 US LEXIS 5708, the Supreme Court ruled in favor of
 all Americans access to their Constitution rights during a pandemic, ruling that the restrictions by NY Governor
 Andrew Cuomo were unconstitutional. Quoted:

        "The loss of the First Amendment freedoms, for even minimal periods of time, unquestionable
        constitutes irreparable injury. Elrod.v. Bums 427 US 347,373 (1976)"
        Per Curiam - " ... even in a pandeniic, the Constitution cannot be put away and forgotten"
        Justice Gorsuch - "Government is not free to disregard the First Amendment in times of crisis"
        and "Even if the constitution has taken a holiday during this pandemic, it cannot become a
        sabbatical."
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       Justice Kavenaugh - " ... judicial deference in an emergency or crisis does not mean wholesale
       judicial abdication, especially when important questions of religious discrimination, racial
       discrimination, free speech, or the like are raised"

While Cuomo restricted church services for the Catholic Church and the Jewish Temples, people were freely
able to continue commerce by shopping at stores and freely visiting dozens of other "essential services"
[hardware stores, bike shops, acupuncturists, liquor stores, marijuana dispensaries, casinos, etc]. Similarly,
while Federal Detainees lack family and attorney visits, commissary representatives.enter the jail to keep the
financial commissary machine moving. Also, guards, civilian kitchen workers and others are admitted each day
                                                                                                               th
with a minimal forehead temperature scan procedures. Equal Protection of the Law is required under the 14
Amendment for both churches and detainees.

Grounded in this ruling, the constitutional rights of all Americans including Federal Detainees cannot and must
not get "put away and forgotten" and must be maintained during a pandemic.

Suspension of the 6th Amendment - Speedy Trial Act
                                                                                       rd
The Covid19 crisis has created an extended period of pretrial incarceration, as the 3 Circuit Chief Judge has
enabled an "Ends of Justice" continuance, which has put a freeze on the speedy trial clock, creating
constitutionally excessive pretrial incarceration that go far beyond the 70 days allowed to its current span of
300+ days. See In re Court Operations Under the Exigent Circumstances Created by Covid-19, 2020 U.S.
Dist. LEXIS 158956. Quoted: "Regarding the criminal matters, the Court recognizes the trial, procedural and
substantive rights of criminal litigants and particularly, their right to a speedy and public trial under the Sixth
Amendment (and the particular application of that right in cases involving defendants who are detained
pending trial)." However, the ruling was that public interest outweighs their constitutional rights. The current
extension has been in effect since March 16, 2020. In light of the recent Supreme Court ruling, the
"sabbatical" taken by discontinuing all trials and speedy trial rights must be re-examined and relief must
be provided to aggrieved parties.


"Punishment" not allowed for pretrial detainees

Pretrial detainees constitute a special category of prisoners. It has been generally held that pretrial detainees are
entitled to the same rights as other citizens except to the extent necessary to assure their appearance at trial and
the security of the institution. (Bell v. Wolfish, 441 U.S. 520 (1979); Rhem v. Malcolm, 396 F. Supp. 1195
(S.D.N.Y.), affd, 527 F.2d 1041 (2d Cir. 1975))

Although a pretrial detainee may be subject to some of the same restrictions as convicted prisoners, the
restrictions become unconstitutional when they amount to punishment.· (Occhino v. United States, 686 F.2d
1302 (8th Cir. 1982))

In order for the Eighth Amendment's prohibition to apply, a punishment must be involved. In a criminal law·
sense, punishment is "any fine, penalty, o_r confinement inflicted upon a person by the authority of the law and
the judgment and sentence of a court, for some crime ... or for his omission of a duty enjoined by law. (Blacks
Law Di~tionary (6th ed. 1990)) As applied to correctional law, a punishment consists of four elements: (1)
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                                                                                                           of
Action by an administrative body, (2) which constitutes the imposition of a sanction, (3) for the purpose
                                                                                                         e have
penalizing the affected person, and (4) as the result of the commission of an offense. Courts nationwid
                                                                                                         Royster,
suggested that any treatment to which a prisoner is exposed is a form of punishment, (Landman v.
                                                                                                         the
333 F. Supp. 621,645 (E.D. Va. 1971)), because it is an additional punishment above·that imposed by
                                                                                                    ent review.
sentencing criminal court. As the result ofbein~ a punishment, it is subject to the Eighth Amendm

                                                                                                             the
As much as the ECCF lockdown conditions are for the purpose of Covidl 9 prevention and are not for
                                                                                                                 nt and
purpose of "penalizing the affected person", by the totality of the circumstances, they constitute punishme
                                                                                                              such  as ·
relief in some form is a fair consideration. The least of these forms of relief is the use of "jail credits",
double or triple time credits that are currently being offered by courts nationwide.

Lack of Access to Attorneys for Pretrial detainees
                                                                                                               an
An individual accused of a crime has a fundamental right to counsel and the right to be represented by
attorney of his or her choice. This right is protected by the Fifth and Sixth Amendments and may        not  be
unreasonably limited by jail officials. (Sqnder v. Russell, 401 F.2d 241,247 (5th Cir. 1968); State ex rel.
McCamie v. McCoy, 276 S.E.2d 534 (W; Va. 1981)) This right is not altered when the individual is
incarcerated. Prison officials may not unreasonably prevent legal counsel from meeting with their prisoner
                                                                                                                  340
clients as long as the attorney observes all of the rules of the institution. (Lynott v. Henderson, 610 F.2d
                                                                                                                    by
(5th Cir. 1980)). Nor may officials infringe upon a prisoners right to communicate with his or her attorney
placing undue restrictions on his or her visitation rights. (Jones v. Diamond, 594 F.2d 997 (5th Cir. 1979))
                                                                                                                 to an
Courts have held that it is impermissible for prison officials to arbitrarily limit a pretrial detainee' s right
attorney' s assistance.
                                                                                                        minute
For the greater part of the ECCF Covid19 containment period, attorney visits have been limited to 15
                                                                                                              as
windows whereby the attorney can come to the jail and sp'eak by a video call. These visits end as quickly
                                                                                                                 to
they start and are interrupted every few minutes with a software error: The time has recently been extended
                                                                                                        dictated   by
around 20 to 30 minutes, but by no mean~ does this allow a detainee the ability to prepare for trial as
                                                                                                               v.
6th Amendm ent Due Process law and case law. As per the ruling in Roman Catholic Diocese of Brooklyn
Cuomo, 2020 US LEXIS 5708, the same screening methods that are being used to allow access to the
                                                                                                             for
commercial machine of commissary, kitchen workers, guards daily access and other entrants can be used
attorney visits.

 Severe Isolation & Quarantine
                                                                                                            Court
The Eighth Amendm ent to the U.S. Constitution prohibits cruel and unusual punishments. The Supreme
                                                                                                            g
has interpreted this clause to prohibit punishments that indicate torture, unnecessary cruelty, or somethin
                                                                                                          and when
inhuman and barbarous (In re Kemmler, 136 U.S. 436 (1890); Wilkerson v. Utah, 99 U.S. 130 (1878))
a punishme nt is unnecessarily cruel in view of the purpose for which it is used. Mental cruelty from   isolation
lock down has been held by the Supreme Court as sufficient to be adclressed by the eighty amendment.

 ECCF has had to use isolation as a means of preventing the spread of Covid 19. This isolation of federal
                                                                                                             large
 detainees ranges from 20 hours per day to 24 hours per day. This isolation involves being locked in a
                                                                                                                    .
 closet sized room, often with no clean drinking water, limited time to shower, no access to exercise. Federal
 courts will provide relief for deprivation of a prisoner' s constitutional right to be free of cruel and unusual
                                                                                                                  such
 punishme nt during his or her stay in isolat~d confinement when the conditions of the confinement become
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                                                                                            something as simple as
that a prisoner is deprived of personal hygiene and other basic civil rights. This includes
clean drinking water or the ability to shower.

                                                                                               te to the offense
Courts have held that when the conditions of isolated confinement are disproportiona
                                                                                                 (Wagner v. Hanks,
involved or used for an improper means it thus runs afoul of the Eighth Amendment
                                                                                                      ons of the
128 F.3d 1173 (7th Cir. 1997)). Clearly Federal ECCF detainees have not violated any regulati
institution but are still receiving ''punishment" via extensive periods of isolation in jail cells.

                                                                                             to do for 20+ hours
Additionally, there have been no books distributed to read, leaving detainees with nothing
                                                                                            alive and having
per day exacerbating their extremely depressed mental states, often losing their will to be
                                                                                               effectively become
suicidal thoughts. Although ECCF has implemented these procedures due to Covidl9 , they
"punishment" under legal definitions.

                                                                                             tional violation is
As much as this "punishment" is part of,the Covid19 response, consideration for the constitu
warranted.

No Visitor Access
                                                                                                  have held that, for
The ECCF Covidl 9 lockdown has eliminated both contact and non-contact visits. Courts
                                                                                               (Inmates ofAllegheny
pretrial detainees, restrictions on visitor access must be justified by a compelling interest.
                                                                                                  N.E.2d 1188, cert.
County Jail v. Pierce, 612 F.2d 754 (3d Cir. 1979); Cooper v. Morin, 49 N.Y.2d 69, 399
denied, 466 U.S. 983 (1979); Epps v. Levine, 480 F. Supp. 50 (D. Md. 1979)).
                                                                                              from the loss of family
As much as this may have been necessary to minimize the Covid19 risk, the mental strain
                                                                                                     Additionally, as
connections is a clear and present consideration for relief in the form of jail time served credits.
                                                                                                  the same screening
per the ruling in Roman Catholic Diocese of Brooklyn v. Cuomo, 2020 US LEXIS 5708,
                                                                                             kitchen workers, guards
methods that are being used to allow access to the commercial machine of commissary,
daily access and other entrants can be used for family visits.

 No access to Religious Services or Clergy
                                                                                              no law respecting an
 The First Amendment to the United States Constitution states that "Congress shall make
                                                                                                        ent for a
 establishment of religion, or prohibiting the free exercise thereof ... and to petition the Governm
 redress of grievances."
                                                                                                       access for clergy
 As much as an institution is not required to provide clergy, federal jurisprudence does require
                                                                                                     428 F.2d 1 (3d Cir.
 to visit an institution to provide religious counseling and services. In Gittlemacker v. Prasse
                                                                                     to prisoner s is pointed out: "The
 1970), the inherent difficulty in applying First Amendment religious freedom
                                                                                                   rs religion cannot be
 requirement that a state interpose no unreasonable barriers to the free exercise of a prisone
                                                                                                 supply every prisoner
 equated with the suggestion that the state has an affirmative duty to provide, furnish, or
                                                                                               s for worship and the
 with a clergyman or religious services of his choice. It is one thing to provide facilitie
 opportunity for any clergy to visit the institution."
                                                                                        for religious
 Throughout the ECCF Covid 19 lockdown response, detainees have had no access to clergy
 services.
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In Cooper. v. Pate, 382 F.2d 518 (7th Cir. 1967), the court allowed prison officials to restrict the religious         (
freedom of certain individuals where the officials showed that such free exercise had been abused at a prior
time, but held that a complete ban on religious services was discrimination. No such abuse has been sustained
by ECCF detainees, yet they have no access to clergy or religious services due to the Covidl 9 restrictions.

Congress enacted the Religious Land Use and Institutionalized Persons Act (RLUIPA) (42 U.S.C. 2000cc-
l(a)), in response to the Supreme Courts holding in City ofBoerne v. Flores 521 U.S. 507 (1997). The statute
provides: "No government shall impose a substantial burden on the religious exercise of a person residing in or
confined to an institution ... even if the burden results from a rule ofgeneral applicability, unless the
government demonstrates that imposition of the burden on that person (1) is infitrtherance of a compelling
governmental interest; and (2) is the least restrictive means offurthering that compelling governmental
interest. "

The ECCF Covidl 9 lockdown creates for detainees a lack of access to clergy along with no access to religious
services, which creates a clear violation of the 1st Amendment. While this may be necessary for the purposes of
containing the virus, relief in the form of jail credits is warranted. Additionally, as per the ruling in Roman
Catholic Diocese of Brooklyn v. Cuomo, 2020 US LEXIS 5708, the same screening methods that are being
used to allow access to the commercial machine of commissary, kitchen workers, guards daily access and other
entrants can be used for clergy visits.

Extremely Limited Access to Medical Care

Throughout the ECCF lockdown period, medical staff has been extremely limited, including dentists,
orthopedic doctors, optometry services and more. This has caused extensive issues causing deteriorating health
conditions for detainees.
In Gates v. Collier, 501 F.2d 1291 (5th Cir. 1974) the Fifth Circuit Court of Appeals reviewed the medical
treatment that was available at the Mississippi State Penitentiary. With more than 1,800 prisoners, the prison
administration relied upon one full-time physician, several prisoner assistants, and a substandard hospital to
provide medical care. The court ruled that the services and facilities were inadequate and ordered the prison
administration to "(]) employ such additional medical personnel as necessary so that the prisons medical staff
would consist ofat least three full..:.fime physicians, one ofwhich must be a psychiatrist and another the prisons
chief medical officer, two full-time dentists, two full-time trained physicians assistants, six full-time registered
or licensed practical nurses, one medical records librarian, and two medical clerical p~rsonnel, and to obtain
the consultant services of a radiologist and a pharmacist; (2) comply with the general standards of the
American Correctional Association relating to medical services for prisoners."

Similarly, ECCF has had extremely limited medical access throughout the Covidl9 lockdown. There are
thousands of medical requests at ECCF that has not been responded to in any way, due to lack of access to
medical personnel. This offers additional support for relief via jail credit considerations. As per the ruling in
Roman Catholic Diocese of Brooklyn v. Cuomo, 2020 US LEXIS 5708, the same screening methods that are
being used to allow access to the commercial machine of commissary, guards daily access and other entrants
can be used for medical personnel to en:ter the jail.

Conclusion
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For the above stated reasons, all ECCF Pretrial detainees, both sentenced and not, must be granted across the
board relief in the form of jail credits or a reduced sentence based on these said conditions consideration or some
other form ofrelief. A ruling is required that will provide Judges a plan to adhere to when addressing this matter.
This ruling should be granted for all pretrial detainees in Federal Custody at ECCF along with detainees under
Federal Custody in the'State of New Jersey in other facilities who are under similar conditions that have created
the same violations of their constitutional rights.

Further, we would like to request that this case be granted the following:
Upgrade to class action status on behalf of all Federal Detainees in ECCF and those Federal Detainees affected in the same
way within the State of New Jersey residing at other correctional facilities.


Signed,

Creaghan A. Harry                                                Date:

Rufus Williams                                                   Date: \ '2...-   5° :_ 2. a
Plaintiffs - Pro Se

Address:

ECCF Detainee Legal Helpdesk Team
c/o Rufus Williams (#207585661)
3 54 Doremus Ave.
Newark, NJ 07105
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